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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 12-295 (PAM/AJB)

UNITED STATES OF AMERICA,

                     Plaintiff,                         MOTION FOR
                                                        PRELIMINARY ORDER OF
      v.                                                FORFEITURE

1.    ERIC WADE FORCIER, and

2.    JULIE ANN CAMPANA

                     Defendants.

      The United States of America, by and through B. Todd Jones, United States

Attorney for the District of Minnesota, and James S. Alexander, Assistant United States

Attorney, respectfully moves this Court, pursuant to 18 U.S.C. § 924(d)(1), in

conjunction with 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2, for a Preliminary Order

of Forfeiture in the above-captioned case and in support thereof represents to the Court

the following:

      1.       On December 3, 2012, a federal grand jury sitting in the District of

Minnesota returned an Indictment against defendants Eric Wade Forcier and Julie Ann

Campana.

      2.       The Forfeiture Allegations of the Indictment sought the forfeiture pursuant

to 18 U.S.C. § 924(d)(1), in conjunction with 28 U.S.C. § 2461(c), of any firearm and

ammunition involved in the violations alleged in Counts 1 through 3 of the Indictment,

including but not limited to a .32 caliber FEG pistol, serial number BK1827 (hereafter,

“firearm”), and associated ammunition.
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       3.       On March 27, 2013, a criminal Information was filed in the District of

Minnesota against defendant Eric Wade Forcier (Forcier) charging him with interference

with commerce by robbery (Counts 1 and 2), using, carrying, and brandishing a firearm

during robbery (Count 3), and felon in possession of a firearm (Count 4). Counts 3 and 4

of the Information specifically referenced a .32 caliber FEG pistol, serial number

BK1827, as being involved in the violations.

       4.       On April 2, 2013, the United States and defendant Julie Ann Campana

entered into a Plea Agreement, whereby the defendant pled guilty to Count 1 of the

Indictment, charging her with aiding and abetting interference with commerce by robbery

on October 29, 2012, in violation of 18 U.S.C. §§ 2 and 1951. The defendant admitted

that she was involved in a robbery of the America’s Best Value Inn & Suites on October

29, 2012. See Plea Agreement and Sentencing Stipulations ¶ 2 (Factual Basis) (Docket

No. 55). During this robbery her co-defendant, Eric Wade Forcier used a .32 caliber FEG

pistol, serial number BK1827, to perpetrate the robbery. Id. Later that day, authorities

found the firearm after Forcier was apprehended. Id. ¶2(h).

       5.       On April 2, 2013, the United States and defendant Eric Wade Forcier

entered into a Plea Agreement, whereby defendant Forcier pled guilty to all counts of the

Information described above. See Plea Agreement and Sentencing Stipulations ¶ 1. The

defendant admitted that he possessed and brandished a .32 caliber semi-automatic pistol

during the robberies. Id. ¶ 3( Factual Basis).




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6.       Rule 32.2(b) of the Federal Rules of Criminal Procedure provides that:

         (b)   Entering a Preliminary Order of Forfeiture.

         (1)   Forfeiture Phase of the Trial.

               (A) Forfeiture Determinations. As soon as practical
               . . . after a plea of guilty or nolo contendere is
               accepted, on any count in an indictment or information
               regarding which criminal forfeiture is sought, the court
               must determine what property is subject to forfeiture
               under the applicable statute. If the government seeks
               forfeiture of specific property, the court must
               determine whether the government has established the
               requisite nexus between the property and the offense.

                                      ....

               (B) Evidence and Hearing.                   The court's
               determination may be based on evidence already in the
               record, including any written plea agreement, and on
               any additional evidence or information submitted by
               the parties and accepted by the court as relevant and
               reliable. If the forfeiture is contested, on either party's
               request the court must conduct a hearing after the
               verdict or finding of guilty.

         (2)   Preliminary Order.

               (A) Contents of a Specific Order. If the court finds
               that property is subject to forfeiture, it must promptly
               enter a preliminary order of forfeiture…directing the
               forfeiture of specific property, and directing the
               forfeiture of any substitute property if the government
               has met the statutory criteria. The court must enter the
               order without regard to any third party's interest in the
               property. Determining whether a third party has such
               an interest must be deferred until any third party files a
               claim in an ancillary proceeding under Rule 32.2(c).




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       7.       Based upon the evidence set forth in the Plea Agreements, the United States

has established the requisite nexus between the .32 caliber FEG pistol and the offenses to

which the defendants have pled guilty. Accordingly, the firearm and any associated

ammunition are subject to forfeiture to the United States pursuant to 18 U.S.C. §

924(d)(1), in conjunction with 28 U.S.C. § 2461(c).

       8.       Section 853(n)(1) of Title 21, as incorporated by 28 U.S.C. § 2461(c),

provides that following the entry of an order of forfeiture, the United States shall publish

notice of the order and may also provide direct written notice of the order to persons

known to have alleged an interest in the firearm.

       9.       Sections 853(n)(2)-(6) of Title 21 set out the process by which third parties

asserting a legal interest in the firearm can obtain a judicial determination of the validity

of the legal claims or interests they assert.

       10.      Pursuant to Section 853(n)(7), following the disposition of all third party

petitions or, if no such petitions are filed, following the expiration of the time period

specified within which to file such petitions, the United States shall have clear title to the

firearm that is the subject of the order of forfeiture.




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      WHEREFORE, the United States moves this Court for a Preliminary Order of

Forfeiture forfeiting the .32 caliber FEG pistol, serial number BK1827 and any and all

related ammunition to the United States.

Dated: June 25, 2013                              B. TODD JONES
                                                  United States Attorney

                                                  s/ James S. Alexander

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